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 5 Telephone: (949) 333-7777                                CLERK U.S. BANKRUPTCY COURT
                                                            Central District of California
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 6
   Attorneys for Plaintiff,
 7 HOUSER BROS. CO. dba RANCHO DEL
   REY MOBILE HOME ESTATES
 8
                              UNITED STATES BANKRUPTCY COURT
 9
                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
    In re                                       Case No. 8:21-bk-11710-SC
11
    JAMIE LYNN GALLIAN,                         Chapter 7
12
                   Debtor.                      Adv. No. 8:21-ap-01097-SC
13
                                                ORDER APPROVING JOINT PRETRIAL
14 HOUSER BROS. CO. dba RANCHO DEL REY          STIPULATION, AND SCHEDULING
    MOBILE HOME ESTATES,                        ORDER
15
                   Plaintiff,                   Pretrial Conference:
16
    v.                                          Date: September 27, 2022
17                                              Time: 1:30 p.m.
                                                Ctrm: 5C
18 JAMIE LYNN GALLIAN,                          Address: 411 W. Fourth Street
                                                Santa Ana, CA 92701
19                 Defendant.
                                                Trial:
20                                              Date: February 23, 2023
                                                Time: 9:30 a.m.
21                                              Ctrm: 5C
                                                Address: 411 W. Fourth Street
22                                              Santa Ana, CA 92701
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                  ORDER APPROVING JOINT PRETRIAL STIPULATION, AND SCHEDULING ORDER
    4876-3232-1333v.1
Case 8:21-ap-01097-SC               Doc 41 Filed 10/05/22 Entered 10/05/22 12:29:09               Desc
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 1            On September 27, 2022, at 1:30 p.m., the Court held a pretrial conference in this adversary
 2 proceeding. Appearances were as stated on the record. The Court, for good cause and the reasons

 3 stated on the record during the pretrial conference, HEREBY ORDERS:

 4         1. The “Joint Pretrial Stipulation,” Docket No. 37, is approved;
 5         2. An in-person trial will begin on February 23, 2023, at 9:30 a.m., in Courtroom 5C;
 6         3. The Court’s following posted procedures will apply and be strictly enforced:
 7                       Judge Clarkson’s Procedures for Trial by Declaration; or
 8                       Judge Clarkson’s Regular Procedures for Trials and Evidentiary Hearings
 9         4. Trial briefs must be filed no later than 14 days prior to trial;
10         5. All witnesses must be present at the start of trial;
11         6. Jamie Lynn Gallian (“Ms. Gallian”) must submit all of her trial exhibits to counsel for
12            Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (“Houser Bros.,” and together
13            with Ms. Gallian, the “Parties”) by October 7, 2022;
14         7. The Parties shall submit a joint exhibit book, containing each Party’s trial exhibits, to the
15            Court no later than one week prior to trial;
16         8. The Parties’ deadline to file dispositive motions including Ms. Gallian’s intended motion for
17            judgment on the pleadings is October 4, 2022, at 5:00 p.m.;
18         9. Any oppositions to Ms. Gallian’s motion for judgment on the pleadings must be filed by
19            October 18, 2022;
20         10. Any replies to the motion for judgment on the pleadings must be filed by October 25, 2022;
21            and
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                    ORDER APPROVING JOINT PRETRIAL STIPULATION, AND SCHEDULING ORDER
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 1       11. The hearing on Ms. Gallian’s motion for judgment on the pleadings will be held via Zoom
 2           on November 1, 2022, at 1:30 p.m.
 3 IT IS SO ORDERED.

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       Date: October 5, 2022
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                   ORDER APPROVING JOINT PRETRIAL STIPULATION, AND SCHEDULING ORDER
     4876-3232-1333v.1
